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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA


THE CITY OF HUNTINGTON,

      Plaintiff,
                                         Civil Action No. 3:17-01362
v.                                       Hon. David A. Faber

AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

      Defendants.

CABELL COUNTY COMMISSION,

      Plaintiff,                         Civil Action No. 3:17-01665
                                         Hon. David A. Faber
v.

AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

      Defendants.


         REPLY IN SUPPORT OF DEFENDANTS’ DAUBERT MOTION TO
              EXCLUDE THE OPINIONS OF JAMES GELDHOF
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I.         INTRODUCTION

           Defendants’ Daubert motion identifies two fatal problems with Plaintiffs’ proposed DEA

expert James Geldhof: (1) he intends to summarize documents in the record to tell the “do not

ship” story Plaintiffs advocate in their complaint; and (2) he offers no specific opinions about the

Defendants in this case. Plaintiffs do not dispute that this accurately reflects Mr. Geldhof’s role

at trial. Indeed, Plaintiffs concede that “an expert must do more than simply construct a factual

narrative based on record evidence,”1 and that “Mr. Geldhof does not intend to offer opinions

about specific defendants.”2

           Recognizing these deficiencies, Plaintiffs recast Mr. Geldhof as having some “specialized

knowledge of the complicated issues relating to opioid distributors and the legal regime

governing them.”3 But Mr. Geldhof offers no technical or scientific opinions based on his

experience working at DEA. Nor does he review documents that, as Plaintiffs suggest, are

“complicated, voluminous, or involve scientific or technical data.”4 Instead, he relies on 17

documents produced by Defendants and DEA to repeat the story recited in Plaintiffs’ complaint,

often in a manner contrary to the express language of the document and his own experiences at

DEA.5 Courts in this circuit have prohibited this type of expert testimony. See, e.g., Eghnayem

v. Boston Scientific Corp., 57 F. Supp. 3d 658, 699 (S.D. W. Va. 2014). This court should do the

same. To the extent Plaintiffs want to provide “context” to documents, they can and should do

so through proper lay witnesses.


1
 Plaintiffs’ Memorandum in Opposition to Defendants’ Daubert Motion to Exclude the
Opinions of James Geldhof, Dkt. No. 1105 (“Opp.”) at 10.
2
    Id. at 12.
3
    Id. at 12.
4
    Id. at 9.
5
    Ex. 3 (Geldhof Rep.) at 4-6 (Section III).


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            In addition, as Plaintiffs and Mr. Geldhof concede, Mr. Geldhof offers no specific

opinions about Defendants, their suspicious order monitoring programs, or their distributions

into Huntington and Cabell County. As such, to the extent his testimony is allowed (it should

not be), he should be precluded from offering any opinions about McKesson, Cardinal, or ABDC

at trial.

II.         ARGUMENT

            A.     The Court Should Exclude Mr. Geldhof’s Opinions Because He Presents an
                   Improper Factual Narrative, Not Scientific Testimony.

            The Court should not allow Mr. Geldhof to present a factual narrative under the guise of

expert “opinion.” It is undisputed that an expert must do more than simply construct a factual

narrative based on record evidence. Indeed, Plaintiffs agree this is the law.6 The Southern

District of West Virginia has held that expert testimony based on a “narrative review” of

documents that simply recites facts should be excluded. See Eghnayem, 57 F. Supp. 3d at 699

(noting “[a]n expert cannot be presented to the jury solely for the purpose of constructing a

factual narrative based on the record of evidence” and excluding the expert). And numerous

other courts have held the same. See, e.g., Newkirk v. Enzor, No. 13-1634-RMG, 2017 WL

823553, at *5 (D.S.C. Mar. 2, 2017) (excluding an expert’s opinions because he “merely

constructs a factual narrative based upon record evidence . . . bolstered by his expert status”); In

re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 551 (S.D.N.Y. 2004) (excluding an expert’s

testimony on the history of “selected regulatory events” because his “historical commentary of




6
 See Opp. at 10-11 (“While an expert must do more than simply construct a factual narrative
based on record evidence, an expert can certainly testify as to the facts relied upon in forming his
opinions so long as they are relevant and not cumulative.”).



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what happened” is “merely a narrative of the case which [the factfinder] is equally capable of

constructing”).7

          Despite conceding the impropriety of such testimony, Plaintiffs confirm that Mr. Geldhof

will do nothing more than recite Plaintiffs’ version of “the history of the law and regulations

governing the pharmaceutical industry” and enforcement of the laws by the DEA.8 And, as Mr.

Geldhof makes clear, his narrative will be based on “public information,” not any specialized

knowledge he acquired while at DEA.9 He admits he will not be testifying as a fact witness

about his experiences at DEA,10 or providing opinions about Defendants’ suspicious order

monitoring programs.11 Instead, Mr. Geldhof will present Plaintiffs’ “do not ship” argument by

describing a subset of documents that do not actually support his opinions.

          Mr. Geldhof’s testimony is the type of testimony that courts find inadmissible under the

Daubert standard. As Plaintiffs acknowledge,

                 [I]t is only when . . . the narrative is purely ‘a repetition of the
                 factual allegations in plaintiffs’ complaint,’ involving ‘nothing
                 technical or scientific,’ that a court might find the expert testimony

7
 See also United States v. AseraCare Inc., No. 2:12-CV-245-KOB, 2014 WL 6879254, at *11
(N.D. Ala. Dec. 4, 2014) (noting that “characterizations of documentary evidence are not proper
subjects for expert testimony” and excluding testimony of an expert who “merely recites the
documentary evidence and testimony”); Miller v. Stryker Instruments, No. CV 09-813-PHX-
SRB, 2012 WL 1718825, at *12 (D. Ariz. Mar. 29, 2012) (finding it is “inappropriate” for an
expert to simply “state facts that could be directly presented to the jury and then make legal
conclusions” and excluding the expert’s testimony).
8
    Opp. at 7.
9
    Ex. 2 (Geldhof Dep., Sept. 22, 2020) at 19:12-20:2.
10
  Ex. 2 (Geldhof Dep., Sept. 22, 2020) at 62:15-17 (“Q. You’re not here as a fact witness
regarding your work at DEA; correct? A. Correct.”). Plaintiffs’ “do not ship” narrative is actually
inconsistent with Mr. Geldhof’s DEA experience. At deposition, he identified no distributor that
blocked all suspicious orders before 2006. Ex. 4 (Geldhof Dep., Sept. 22, 2020) at 125:2-7. He
understood while at DEA that his DEA subordinate James Rafalski testified before a federal
district court that “do not ship” was not required before 2006. Id. at 147:20-149:11.
11
     Ex. 2 (Geldhof Dep., Sept. 22, 2020) at 26:7-13.



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                    unhelpful, because the expert is providing only ‘simple inferences
                    drawn from uncomplicated facts.’12

Mr. Geldhof’s narrative merely will repeat the facts alleged by Plaintiffs. Even Mr. Geldhof

admits that he will discuss only the basic information about the law and DEA’s enforcement that

Plaintiffs’ lawyers asked him to give.13 He is unable to do more, because the only documents he

looked at in forming his narrative were the documents that Plaintiffs’ lawyers provided him.14

“To the extent that [experts] purport to simply make arguments that [a party’s] lawyers may

make, such testimony is not expert opinion and should be excluded.” In re C.R. Bard Inc. Pelvic

Repair Sys. Prods. Liab. Litig., 948 F. Supp. 2d 589, 644 (S.D. W. Va. 2013).

          Hoping to save Mr. Geldhof’s narrative, Plaintiffs contend that experts are allowed to

discuss the evidence that forms the basis of their opinions.15 That argument misses the point—

an expert cannot be used as a mere document delivery vehicle. As the Southern District of

West Virginia explained, “an expert may testify about his or her review of internal corporate

documents solely for the purpose of explaining the basis for his or her opinions.” Eghnayem, 57

F. Supp. 3d at 670. The court in Eghnayem excluded the expert because his opinions went

further, and “[m]uch of [his] export report [was] a narrative review of corporate documents.” Id.




12
  Opp. at 10 (quoting In re Welding Fume Prods. Liab. Litig., No. 1:03-CV-17000, 2005 WL
1868046, at *17 (N.D. Ohio Aug. 8, 2005)).
13
   Ex. 2 (Geldhof Dep., Sept. 22, 2020) at 315:14-16 (“Q. Are there any opinions you were asked
to give in this case that you couldn’t give for any reason? A. No.”); id. at 315:17-19 (“Q. Are
there any opinions that you were given in this case that the lawyers did not ask you to give? A.
No.”).
 Ex. 2 (Geldhof Dep., Sept. 22, 2020) at 22:14-17 (“Q. Did you review any documents that
14

were not provided to you by the attorneys in preparing your report? A. I don’t believe so.”).
15
     Opp. at 8-9.



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at 699. Here, too, Mr. Geldhof provides only a narrative review of documents, and his opinions

should be excluded.

          In a final effort to save Mr. Geldhof, Plaintiffs contend that the Court should exercise its

discretion and permit the testimony. Plaintiffs cite this Court’s ruling in Grant Thornton, LLP v.

Fed. Deposit Ins. Corp. to argue that, in a bench trial, “concerns about the usefulness of various

portions of the scientific testimony more appropriately can be addressed through determination

of the weight to be accorded the testimony, rather than through the threshold determination of

admissibility.”16 But unlike the facts in Grant Thornton, there is no scientific testimony here.

Mr. Geldhof’s recounting of Plaintiffs’ “do not ship” story using documents that do not actually

support his opinions is not scientific, not based on any specialized knowledge or experience, and

should be excluded.

          Bench trial or jury trial, Federal Rule of Evidence 702 still applies: “Rule 702 applies

whether the trier of fact is a judge or a jury. By using the term ‘trier of fact,’ rather than

specifying judge or jury, Rule 702 does not distinguish between proceedings.” UGI Sunbury

LLC v. A Permanent Easement for 1.7575 Acres, 949 F.3d 825, 832 (3d Cir. 2020). A court

cannot abandon its gatekeeping function just because there will not be a jury. Id. at 833. The

Court should apply Rule 702 here and exclude Mr. Geldhof’s narrative review of the documents

of record.

          B.       The Court Should Not Permit Mr. Geldhof To Offer Any Opinions About
                   Defendants.

          Plaintiffs confirm that Mr. Geldhof “does not intend to offer opinions about the specific

defendants in this case, other than those presented in his expert report.”17 To be clear, Mr.


16
     No. 1:00-0655, 2007 WL 4591412, at *1 (S.D. W. Va. May 6, 2007) (emphasis added).
17
     Opp. at 12.


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Geldhof does not offer any opinions about Defendants McKesson, Cardinal, and ABDC in his

expert report. Mr. Geldhof admittedly lacks specific opinions on Defendants, their suspicious

order monitoring systems, or their distribution of controlled substances into Huntington or Cabell

County.18 While Mr. Geldhof lists enforcement actions against Defendants in his report, he

provides no opinions about those actions.19 Similarly, while he mentions the Energy and

Commerce Committee’s hearings on the Defendants’ distributions in West Virginia, he offers no

opinions on those hearings or the report ultimately issued by the committee.20 Therefore, “those

[opinions] presented in his expert report” that Plaintiffs vaguely refer to cannot be the subject of

his testimony at trial.

          An expert’s testimony at trial must be limited to the information disclosed in his report.

See Fed. R. Civ. P. 37(c) (providing that “[i]f a party fails to provide information . . . required by

Rule 26(a) or (e), the party is not allowed to use that information . . . at a trial”). The Court

should preclude Mr. Geldhof from offering any opinions about McKesson, Cardinal, and ABDC

at trial because he failed to disclose any such opinions in his expert report.21



18
   Ex. 2 (Geldhof Dep., Sept. 22, 2020) at 26:2-13 (“Q. . . . Are there any opinions that you give
in your report that you intend to testify about regarding the specific conduct of any defendant in
this case? A. No. Q. And, for example, you don’t talk about any defendants’ Suspicious Order
Monitoring Systems; correct? A. No. Q. I don’t believe you reviewed those in preparing your
opinion; correct? A. Correct.”); id. at 31:7-10 (“Q. Do you know if McKesson, Cardinal and
ABDC specifically distributed into Cabell County and Huntington? A. I don’t.”); id. at 32:16-21
(“Q. Are you offering any specific opinions against McKesson in your report? A. No. No. Q.
Same answer for ABDC and Cardinal, no specific opinions against them in your report? A.
Correct.”).
19
     See Ex. 4 (Geldhof Dep., Sept. 22, 2020) at 24:19-26:1; Ex. 3 (Geldhof Rep.) at 6-9.
20
     See Ex. 4 (Geldhof Dep., Sept. 22, 2020) at 24:19-26:1; Ex. 3 (Geldhof Rep.) at 9.
21
   Plaintiffs also argue that Mr. Geldhof should be permitted to offer legal conclusions. See Opp.
at 11-12. But expert testimony that “draw[s] legal conclusions from facts” and “seeks to state
legal standards, which is properly the court’s role” must be excluded. In re C.R. Bard, 948 F.
Supp. 2d at 629. Moreover, Mr. Geldhof’s report contains no legal conclusions about
Defendants, so any such testimony must be excluded under Rule 37(c).


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III.   CONCLUSION

       For these reasons, the Court should exclude the opinions of Mr. Geldhof.




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Dated: October 30, 2020           Respectfully submitted,

                                  /s/ Timothy C. Hester
                                  Timothy C. Hester (DC 370707)
                                  Laura Flahive Wu
                                  Andrew P. Stanner
                                  COVINGTON & BURLING LLP
                                  One CityCenter
                                  850 Tenth Street NW
                                  Washington, DC 20001
                                  Tel: (202) 662-5324
                                  thester@cov.com
                                  lflahivewu@cov.com
                                  astanner@cov.com

                                  /s/ Paul W. Schmidt
                                  Paul W. Schmidt
                                  COVINGTON & BURLING LLP
                                  The New York Times Building
                                  620 Eighth Avenue
                                  New York, New York 10018
                                  Tel: (212) 841-1000
                                  pschmidt@cov.com

                                  /s/ Jeffrey M. Wakefield
                                  Jeffrey M. Wakefield (WVSB #3894)
                                  jwakefield@flahertylegal.com
                                  Jason L. Holliday (WVSB #12749)
                                  jholliday@flahertylegal.com
                                  FLAHERTY SENSABAUGH BONASSO PLLC
                                  P.O. Box. 3843
                                  Charleston, WV 25338-3843
                                  Telephone: (304) 345-0200

                                  Counsel for McKesson Corporation

                                  /s/ Gretchen M. Callas
                                  Gretchen M. Callas (WVSB #7136)
                                  JACKSON KELLY PLLC
                                  Post Office Box 553
                                  Charleston, WV 25322
                                  Tel: (304) 340-1000
                                  Fax: (304) 340-1050
                                  gcallas@jacksonkelly.com




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                                  /s/ Robert A. Nicholas
                                  Robert A. Nicholas
                                  Shannon E. McClure
                                  REED SMITH LLP
                                  Three Logan Square
                                  1717 Arch Street, Suite 3100
                                  Philadelphia, PA 19103
                                  Tel: (215) 851-8100
                                  Fax: (215) 851-1420
                                  rnicholas@reedsmith.com
                                  smcclure@reedsmith.com

                                  Counsel for AmerisourceBergen Drug Corporation

                                  /s/ Steven R. Ruby
                                  Michael W. Carey (WVSB No. 635)
                                  Steven R. Ruby (WVSB No. 10752)
                                  David R. Pogue (WVSB No. 10806)
                                  Raymond S. Franks II (WVSB No. 6523)
                                  CAREY DOUGLAS KESSLER & RUBY PLLC
                                  901 Chase Tower, 707 Virginia Street, East
                                  P.O. Box 913
                                  Charleston, WV 25323
                                  Telephone: (304) 345-1234
                                  Facsimile: (304) 342-1105
                                  mwcarey@csdlawfirm.com
                                  sruby@cdkrlaw.com
                                  drpogue@cdkrlaw.com
                                  rsfranks@cdkrlaw.com

                                  /s/ Enu Mainigi
                                  Enu Mainigi
                                  F. Lane Heard III
                                  Ashley W. Hardin
                                  Jennifer G. Wicht
                                  WILLIAMS & CONNOLLY LLP
                                  725 Twelfth Street NW
                                  Washington, DC 20005
                                  Tel: (202) 434-5000
                                  Fax: (202) 434-5029
                                  emainigi@wc.com
                                  lheard @wc.com
                                  ahardin@wc.com
                                  jwicht@wc.com

                                  Counsel for Cardinal Health, Inc.



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                                  CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on October 30, 2020, the foregoing

Reply in Support of Defendants’ Daubert Motion to Exclude the Opinions of James

Geldhof was served using the Court’s CM/ECF system, which will send notification of

such filing to all counsel of record.


 Dated: October 30, 2020                     /s/ Timothy C. Hester
                                             Timothy C. Hester
